                             Case 1:19-mj-07085-JCB Document 5 Filed 04/23/19 Page 1 of 2
$25HY$UUHVW:DUUDQW



                                           81,7(' 67$7(6 ',675,&7 &2857
                                                                     IRUWKH
                                                         District of Massachusetts
                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    8QLWHG6WDWHVRI$PHULFD
                               Y                                      
                         0DWWKHZ +DYLODQG                                      &DVH1R    PM
                                                                       
                                                                       
                                                                       
                                                                       
                               Defendant


                                                           $55(67:$55$17
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU

          <28$5(&200$1'('WRDUUHVWDQGEULQJEHIRUHD8QLWHG6WDWHVPDJLVWUDWHMXGJHZLWKRXWXQQHFHVVDU\GHOD\
(name of person to be arrested)         0DWWKHZ +DYLODQG                                                                                    
ZKRLVDFFXVHGRIDQRIIHQVHRUYLRODWLRQEDVHGRQWKHIROORZLQJGRFXPHQWILOHGZLWKWKHFRXUW

u ,QGLFWPHQW                u 6XSHUVHGLQJ,QGLFWPHQW          u ,QIRUPDWLRQ        u 6XSHUVHGLQJ,QIRUPDWLRQ             ✔ &RPSODLQW
                                                                                                                         u
u 3UREDWLRQ9LRODWLRQ3HWLWLRQ                 u 6XSHUYLVHG5HOHDVH9LRODWLRQ3HWLWLRQ       u 9LRODWLRQ1RWLFH          u 2UGHURIWKH&RXUW

7KLVRIIHQVHLVEULHIO\GHVFULEHGDVIROORZV
   &\EHUVWDONLQJ LQ YLRODWLRQ RI  86&  $ DQG
   7UDQVPLWWLQJ D WKUHDW LQ LQWHUVWDWH FRPPHUFH LQ YLRODWLRQ RI  86&  F




'DWH           
                                                                                              Issuing officer’s signature

&LW\DQGVWDWH         %RVWRQ 0$                                                         Hon. Jennifer C. Boal
                                                                                                Printed name and title


                                                                     5HWXUQ

           7KLVZDUUDQWZDVUHFHLYHGRQ(date)                             DQGWKHSHUVRQZDVDUUHVWHGRQ (date)
DW (city and state)                                              

'DWH
                                                                                             Arresting officer’s signature



                                                                                                Printed name and title
                             Case 1:19-mj-07085-JCB Document 5 Filed 04/23/19 Page 2 of 2
$25HY$UUHVW:DUUDQW3DJH




                       7KLVVHFRQGSDJHFRQWDLQVSHUVRQDOLGHQWLILHUVSURYLGHGIRUODZHQIRUFHPHQWXVHRQO\
                       DQGWKHUHIRUHVKRXOGQRWEHILOHGLQFRXUWZLWKWKHH[HFXWHGZDUUDQWXQOHVVXQGHUVHDO

                                                          (Not for Public Disclosure)

1DPHRIGHIHQGDQWRIIHQGHU               0DWWKHZ +DYLODQG

.QRZQDOLDVHV
/DVWNQRZQUHVLGHQFH                   &KDXFHU 'ULYH 1RUWK .LQJVWRZQ 5,

3ULRUDGGUHVVHVWRZKLFKGHIHQGDQWRIIHQGHUPD\VWLOOKDYHWLHV


/DVWNQRZQHPSOR\PHQW
/DVWNQRZQWHOHSKRQHQXPEHUV                     

3ODFHRIELUWK
'DWHRIELUWK              

6RFLDO6HFXULW\QXPEHU                  

+HLJKW                                                                  :HLJKW
6H[       0                                                             5DFH      :

+DLU      %URZQ                                                         (\HV
6FDUVWDWWRRVRWKHUGLVWLQJXLVKLQJPDUNV



+LVWRU\RIYLROHQFHZHDSRQVGUXJXVH


.QRZQIDPLO\IULHQGVDQGRWKHUDVVRFLDWHV(name, relation, address, phone number)


)%,QXPEHU
&RPSOHWHGHVFULSWLRQRIDXWR                    :KLWH +RQGD &LYLF


,QYHVWLJDWLYHDJHQF\DQGDGGUHVV


1DPHDQGWHOHSKRQHQXPEHUVRIILFHDQGFHOORISUHWULDOVHUYLFHVRUSUREDWLRQRIILFHU(if applicable)



'DWHRIODVWFRQWDFWZLWKSUHWULDOVHUYLFHVRUSUREDWLRQRIILFHU(if applicable)
